Case 12-10058-TPA       Doc 1135     Filed 03/11/15 Entered 03/11/15 22:31:56        Desc Main
                                   Document      Page 1 of 17


                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE:                               ) Case No. 12-10058-TPA
                                      )
 GREAT PLAINS EXPLORATION, LLC,       )
           Debtor                     ) Chapter 11
                                      )
    GUY C. FUSTINE, CHAPTER 11        ) Doc. No. ___
    TRUSTEE FOR GREAT PLAINS          )
    EXPLORATION, LLC,                 )
           Applicant/Movant           )
                                      )
           vs.                        )
                                      )
     ST
    1 SOURCE BANK, CATERPILLAR        )
    FINANCIAL SERVICES                )
    CORPORATION, CHARTER ONE          )
    BANK, N.A., HURON LIME            )
    COMPANY, LLC, NATIONAL CITY       )
    BANK, NATIONAL CITY               )
    COMMERCIAL CAPITAL COMPANY, )
    LLC, RBS ASSET FINANCE, INC., RBS )
    CITIZENS, N.A., WELLS FARGO       )
    EQUIPMENT FINANCE, INC., SG       )
    EQUIPMENT FINANCE USA             )
    CORPORATION, MENTOR               )
    EQUIPMENT RENTAL, LLC, LAKE       )
    NATIONAL BANK, CITICAPITAL        )
    COMMERCIAL CORPORATION, and       )
    FORD MOTOR CREDIT CO.,            )
           Respondents                )

    CHAPTER 11 TRUSTEE’S APPLICATION TO EMPLOY AUCTIONEER AND
   MOTION TO SELL PERSONAL PROPERTY FREE AND DIVESTED OF LIENS AT
                          PUBLIC AUCTION

          AND NOW, this 11th day of March, 2015, comes Guy C. Fustine, Esquire, Chapter 11

 Trustee, by and through his counsel, Knox McLaughlin Gornall & Sennett, P.C., with this

 Application to Employ Auctioneer and Motion to Sell Personal Property Free and Divested of

 Liens at Public Auction, as follows:
Case 12-10058-TPA       Doc 1135     Filed 03/11/15 Entered 03/11/15 22:31:56            Desc Main
                                   Document      Page 2 of 17


                                        INTRODUCTION

        1.      The Bankruptcy Court has jurisdiction over this Motion under 28 U.S.C. §1334,

 28 U.S.C. §157, and the Order of Reference to the Bankruptcy Court in the Western District of

 Pennsylvania. This Motion is filed pursuant to 28 U.S.C. §327, 28 U.S.C. §363 and the

 Bankruptcy Rules of Court. This is a “core” proceeding under 28 U.S.C. §157(b)(2).

        2.      On January 11, 2012, Oz Gas, Ltd. (“Oz Gas”) and Great Plains Exploration, LLC

 (“Great Plains Exploration” or “GPE”) filed voluntary Petitions for Relief under Chapter 11 of

 the Bankruptcy Code.

        3.      The Debtors are represented by Bernstein-Burkley, P.C., 2200 Gulf Tower,

 Pittsburgh, Pennsylvania 15219, Attn: Robert S. Bernstein, Esquire.

        4.      No Official Creditors’ Committee was appointed in the Great Plains Exploration

 case. The Creditors’ Committee in the Oz Gas case is represented by The Quinn Law Firm,

 2222 West Grandview Boulevard, Erie, Pennsylvania 16506, Attn: Lawrence C. Bolla, Esquire.

        5.      On November 14, 2014, the United States Trustee for Region 3 appointed Guy C.

 Fustine, Esquire, to serve as the Chapter 11 Trustee in both cases. The appointment was

 approved by the Court on November 14, 2014 at Docket No. 1043 in the Oz Gas case and at

 Docket No. 997 in the Great Plains Exploration case. Knox McLaughlin Gornall & Sennett, P.C.

 was authorized to serve as attorney pro se for the Trustee by Order dated December 8, 2014 at

 Docket No. 1068 in the Oz Gas case and Docket No. 1025 in the Great Plains Exploration case.

                                         RESPONDENTS

        6.      1st Source Bank, Construction Equipment Division, P.O. Box 783, South Bend,

 Indiana 46624, is represented by May Oberfell Lorber, 4100 Edison Lakes Parkway, Suite 100,

 Mishawaka, Indiana 46545; and, represented locally by Marsh Spaeder Bauer Spaeder & Schaaf,

 300 State Street, Suite 300, Erie, Pennsylvania 16507, Attn: Laura S. Steehler, Esquire. 1st

                                                 2
Case 12-10058-TPA        Doc 1135     Filed 03/11/15 Entered 03/11/15 22:31:56             Desc Main
                                    Document      Page 3 of 17


 Source Bank filed a Financing Statement against GPE with the Ohio Secretary of State on

 May 21, 2007 at File No. 0H00115366800 for a security interest in a Screen Machine Impact

 Crusher and Finlay Supertrack Screen with accessories, continued on December 7, 2011 at File

 No. 20113420044; on March 28, 2008 at File No. OH00125229125 for a security interest in

 Caterpillar D6R Tractor, Ingersoll Rand Compressor, Mack Water Truck and accessories,

 continued October 2, 2012 at File No. 20122760020; and, on April 9, 2008 at File

 No. OH00125517237 for a security interest in a second Mack Water Truck and related

 equipment, continued on November 7, 2012 at File No. 20123120065. 1st Source has a valid

 security interest. Furthermore, the Trustee has entered into a separate Stipulation with 1st

 Source, subject to Bankruptcy Court approval, covering how and when the proceeds of sale will

 be distributed and the payment terms for the collateral which is not being sold (i.e. the water

 trucks which are not being sold and which are used in connection with the business operations).

        7.      Respondent Caterpillar Financial Services Corporation, 2120 West End Avenue,

 Nashville, Tennessee 37203-0986, is represented by Buchanan Ingersoll & Rooney, P.C., One

 Oxford Centre, 20th Floor, 301 Grant Street, Pittsburgh, Pennsylvania 15219, Attn: Kelly M.

 Neal, Esquire. Caterpillar Financial Services Corporation filed five (5) Financing Statements

 against GPE with the Ohio Secretary of State, as follows:

 File No.               File Date    Cont. No.           Cont. Date       Collateral
 OH00116100768          6/12/07      20121070117         4/16/12          CAT Excavator
 OH00120817107          11/5/07      20122570119         9/13/12          CAT Excavator
 OH00125045296          3/24/08      20130560012         2/25/13          CAT Tractor
 OH00126002459          4/24/08      20130840080         3/25/13          CAT Loader
 OH00127242862          6/5/08       20131340416         5/14/13          CAT Excavator

 The Trustee has been advised that Respondent Caterpillar Financial Services Corporation has

 been paid in full.




                                                  3
Case 12-10058-TPA       Doc 1135     Filed 03/11/15 Entered 03/11/15 22:31:56           Desc Main
                                   Document      Page 4 of 17


         8.    Respondent Charter One Bank, N.A., c/o RBS Citizens, N.A., 1215 Superior

 Avenue, 6th Floor, Cleveland, Ohio 44114, is represented by Drinker, Biddle & Reath, LLP, One

 Logan Square, Suite 2000, Philadelphia, Pennsylvania 19103-6996, Attn: Andrew D. Kassner,

 Esquire. Charter One Bank filed a Financing Statement against GPE with the Ohio Secretary of

 State on August 4, 2008 at File No. OH00128660253. There were three (3) collateral

 amendments and the Financing Statement was continued on March 5, 2013 at File

 No. 20130640456. The collateral includes a McCloskey Crusher with Screens installed; Gas

 Compressor Package; Noram Compact Grader; Sterling Crane; Terex Boom; and, Case Skid

 Steer Track Loader. The security interests in favor of Respondent Charter One Bank are

 subordinate to the security interests in favor of Respondent RBS Asset Finance, Inc. in the same

 collateral.

         9.    Respondent Huron Lime Company, LLC, P.O. Box 658, Mentor, Ohio 44060,

 filed a Financing Statement against GPE with the Ohio Secretary of State on August 4, 2011 at

 File No. OH00152091973 for a security interest in the Debtor’s accounts, contract rights and

 negotiable instruments. Huron Lime Company, LLC is represented by Dworken & Bernstein, 60

 South Park Place, Painesville, Ohio 44077. The Trustee has been advised that Respondent

 Huron Lime Company has been paid in full.

         10.   Respondent National City Bank, 1900 East 9th Street, Cleveland, Ohio 44114,

 filed a Financing Statement against GPE with the Ohio Secretary of State on May 1, 2006 at File

 No. OH00101598481 for an all-inclusive security interest in the Debtor’s personal property;

 followed by a collateral amendment on November 20, 2006 at File No. 20063240740 to include

 a 2006 Mack Oilfield Winch Tractor, 2006 Dickirson Service Rig and 2006 Dickirson Swab Rig

 as additional collateral. The Financing Statement was terminated on September 15, 2008 at File



                                                 4
Case 12-10058-TPA       Doc 1135     Filed 03/11/15 Entered 03/11/15 22:31:56            Desc Main
                                   Document      Page 5 of 17


 No. 20082590086. Furthermore, the Trustee has been advised that National City Bank has been

 paid in full.

          11.    Respondent National City Commercial Capital Company, LLC, 101 South Fifth

 Street, Louisville, Kentucky 40202, filed a Financing Statement against GPE with the Ohio

 Secretary of State on November 10, 2006 at File No. OH00108722665, amended on

 November 20, 2006 at File No. 20063240740 and continued on October 13, 2011 at File

 No. 20112860380. The collateral is a 2008 Mack Granite Oilfield Winch Tractor.

 Notwithstanding the alleged security interest, the Trustee has been advised that National City

 Commercial Capital Company has been paid in full.

          12.    Respondent RBS Asset Finance, Inc., 480 Jefferson Boulevard, Warwick, Rhode

 Island 02886, filed the following Finance Statements against GPE with the Ohio Secretary of

 State:

 File No.             File Date    Cont. No.         Cont. Date     Collateral
 OH00133757285        4/3/09       20140620036       3/3/14         McCloskey Crusher with
                                                                    Screens installed and Gas
                                                                    Compressor Package
 OH00134071282        4/20/09      20140870281       3/28/14        All personal property
 OH00134111127        4/20/09      20140870342       3/28/14        Sterling Crane, Terex Boom and
                                                                    Case Skid Steer Track Loader
 OH00135169725        6/4/09                                        2009 Noram Compact Grader

          13.    Respondent RBS Citizens, N.A. d/b/a Charter One Bank, N.A., 1215 Superior

 Avenue, 6th Floor, Cleveland, Ohio 44114, is represented by Drinker, Biddle & Reath, LLP, One

 Logan Square, Suite 2000, Philadelphia, Pennsylvania 19103-6996, Attn: Andrew D. Kassner,

 Esquire. RBS Citizens, N.A. filed a Financing Statement against GPE with the Ohio Secretary

 of State on June 18, 2010 at File No. OH00143053174 for a security interest in the PCO-

 Mayfield, Ltd. contract and proceeds. RBS Citizens also filed Financing Statements against GPE




                                                 5
Case 12-10058-TPA        Doc 1135     Filed 03/11/15 Entered 03/11/15 22:31:56              Desc Main
                                    Document      Page 6 of 17


 with the Ohio Secretary of State on July 14, 2009 at File No. 20091960084 for a security interest

 subordinate to the security interest in favor of RBS Asset Finance, Inc. in the same collateral.

        14.     Respondent Wells Fargo Equipment Finance, Inc., 733 Marquette Avenue,

 Suite 700, Minneapolis, Minnesota 55402, is represented by McGuire Woods, LLP, 625 Liberty

 Avenue, 23rd Floor, Pittsburgh, Pennsylvania 15222, Attn: Michael J. Roeschenthaler, Esquire.

 Wells Fargo Equipment Finance, Inc. filed the following Financing Statements against GPE with

 the Ohio Secretary of State:

 File No.             File Date    Cont. No.          Cont. Date      Collateral
 OH00111481062        1/31/07      20112730119        9/30/11         2006 Atlas Copco with
                                                                      accessories
 OH00126234753        5/1/08       20130430174        2/12/13         Continental Mud Pump,
                                                                      Beavertail Flat Trailer,
                                                                      Talbert Lowboy Trailer and
                                                                      accessories
 OH00127097065        5/30/08      20130650191        3/6/13          2008 Rotadrill Drill Rig
                                                                      mounted on Crane Carrier
                                                                      with accessories
 OH00129295865        9/3/08       20132330105        8/21/13         Schramm Pipe Handling
                                                                      System, Vacuum Tank
                                                                      Trailer, 34’ Float Trailer, 42’
                                                                      Float Trailer, 40’ Doghouse,
                                                                      GMC Chassis and accessories

 Moreover, Wells Fargo has a lien noted on the Ohio Certificate of Title for the Beaver Tail

 Trailer which is included in the sale and located in Pennsylvania.

        15.     Financing Statement No. OH00126234753 in favor of Wells Fargo Equipment

 Finance, Inc. was assigned to Respondent SG Equipment Finance, USA Corporation, 480

 Washington Boulevard, 24th Floor, Jersey City, New Jersey 07310.

        16.     Respondent Mentor Equipment Rental, LLC is affiliated with Mr. Richard

 Osborne. Mr. Osborne’s individual attorney, Richard Baumgart, Esquire, also represents Mentor

 Equipment Rental, LLC. Mentor Equipment Rental, LLC is believed to be a newly formed

 entity to purchase the loans and security agreements between GPE and Wells Fargo Equipment


                                                  6
Case 12-10058-TPA       Doc 1135       Filed 03/11/15 Entered 03/11/15 22:31:56           Desc Main
                                     Document      Page 7 of 17


 Finance, Inc. The effective transfer date was allegedly January 16, 2015. However, no transfer

 of claim documents or assignments have been filed with the Court or served upon the Trustee.

         17.    Respondent Lake National Bank, 7402 Center Street, Mentor, Ohio 44060, is

 represented by Thrasher, Dinsmore & Dolan, 100 Seventh Avenue, Suite 150, Chardon, Ohio

 44024-1079, Attn: Todd C. Hicks, Esquire. Lake National Bank was included as a secured claim

 on the Schedule of Liabilities filed by Great Plains Exploration regarding eight (8) separate

 automobile loans. None of the involved vehicles are included in the sale. Furthermore, the

 Trustee has been advised that Lake National Bank has been paid in full.

         18.    Respondent CitiCapital Commercial Corporation, 3950 Regent Boulevard, 2nd

 Floor Lien Perfection, Irving, Texas 75063, has a lien noted on the Ohio Certificates of Title for

 two (2) Dickirson trailers which are included in the sale. This Respondent also filed Financing

 Statements in Pennsylvania against Oz Gas. However, the Trustee has been advised that this

 Respondent has been paid in full.

         19.    Respondent Ford Motor Credit Co., P.O. Box 105704, Atlanta, Georgia 30348,

 has a lien noted on the Ohio Certificate of Title for one Ford Super Duty Truck which is included

 in the sale. However, the Trustee has been advised that Ford Motor Credit Co. has been paid in

 full.

                                       ASSETS FOR SALE

         20.    Among the assets of the Estate is personal property of the Debtor located in

 Tidioute, Pennsylvania; Mentor, Ohio; and/or Winifred, Montana. Said personal property

 includes equipment and vehicles owned by the Debtor. The Trustee has determined that certain

 pieces of equipment and certain vehicles are no longer necessary for the operation of the




                                                  7
Case 12-10058-TPA            Doc 1135       Filed 03/11/15 Entered 03/11/15 22:31:56                       Desc Main
                                          Document      Page 8 of 17


 business on a going-forward basis. Accordingly, the Trustee desires to sell the excess equipment

 and vehicles at public auction.1

          21.      The Trustee requests approval to proceed with the auction sale as soon as possible

 under the applicable Rules of Court.

          22.      The Debtor’s excess personal property which is listed for sale is described on

 Exhibit A attached hereto (the “Assets”). The Assets are divided into three (3) groups based

 upon their current location: one group of assets is located in Tidioute, Pennsylvania; one group

 of assets is located in Mentor, Ohio; and, one group of assets is located in Winifred, Montana.

 The Assets are owned by the Debtor and/or by the Debtor’s affiliate, Oz Gas, Ltd. (“Oz Gas”).

 Oz Gas is also in Chapter 11 in the Western District of Pennsylvania at Case No. 12-10058-TPA.

 The Chapter 11 Trustee has filed a similar application to employ auctioneer and to sell personal

 property free and divested of liens at public auction in the Oz Gas case. The proposed auctions

 will be conducted at the same time and place and the proceeds received for each asset sold will

 be accounted for separately.

          23.      After the auction, the Trustee anticipates filing a separate motion in each case for

 authority to distribute the proceeds of sale, after notice to all interested parties and a separate

 hearing on the Trustee’s proposed distribution of the auction sale proceeds.

          24.      The Trustee believes that the best method for maximizing the value of the Assets

 is to proceed with the proposed public auction sale in accordance with the terms of the Auction

 Contract.



 1
   The Trustee believes that the Debtor owns additional excess equipment and vehicles which have not yet been
 located and, for the time being, are not included in the sale. However, the Auction Contract provides that the
 Trustee may add additional items to the auction at a later time. Attached hereto as Exhibit D is a list of additional
 assets which were identified on Financing Statements filed of public record, showing that these additional assets are
 owned by Great Plains Exploration. These additional assets have not yet been located. However, the Trustee
 reserves the right to include them in the sale if reasonably possible.

                                                           8
Case 12-10058-TPA          Doc 1135     Filed 03/11/15 Entered 03/11/15 22:31:56           Desc Main
                                      Document      Page 9 of 17


                    APPLICATION TO EMPLOY AUCTIONEER
           PER STANDARD AUCTION CONTRACT WITH PRICE GUARANTY

        25.     Paragraphs 1 through 24 are incorporated herein by reference.

        26.     After having interviewed numerous auctioneers who were referred to the Trustee

 by parties in interest, the Trustee seeks to employ Cincinnati Industrial Auctioneers, Inc., 2020

 Dunlap Street, Cincinnati, Ohio 45214 (“CIA” or “Auctioneer”) (internet: www.cia-auction.com)

 (email: info@cia-auction.com), as the auctioneer in these proceedings, for the purpose of selling

 the Assets at a public auction sale.

        27.     Subject to Bankruptcy Court approval, the Trustee has entered into a Standard

 Form Auction Contract for CIA to sell at public auction the Assets of Oz Gas and Great Plains

 Exploration which are included on the list of Assets attached hereto as Exhibit A.

        28.     The Auction Contract provides that the auction will be held within forty-five (45)

 days after court approval of the Auctioneer.

        29.     The services of the Auctioneer are necessary to conduct the sale. CIA is

 experienced and has conducted many equipment auction sales across the region, including

 bankruptcy auctions and auctions of similar assets.

        30.     CIA is included on the “List of Approved Auctioneers” for the United States

 Bankruptcy Court for the Northern District of Ohio.

        31.     The proposed Standard Form Auction Contract is attached hereto as Exhibit B

 (the “Auction Contract”).

        32.     The Auction Contract includes a Price Guaranty in the amount of $1,550,000.

        33.     The Auction Contract provides for a ten (10%) percent buyer’s premium to

 compensate the Auctioneer for its services. The buyer’s premium for webcast auction buyers is

 thirteen (13%) percent.


                                                  9
Case 12-10058-TPA        Doc 1135 Filed 03/11/15 Entered 03/11/15 22:31:56                 Desc Main
                                 Document    Page 10 of 17


        34.     The amount of the Auctioneer’s guaranty is based upon the equipment list

 attached hereto as Exhibit A. If items are removed from the list, or added to the list, the

 guaranteed amount may be adjusted.

        35.     The guaranteed amount under the Auction Contract shall be paid as follows: the

 Auctioneer will make a deposit in the amount of $155,000 when the Auctioneer and Auction

 Contract are approved and the balance of the guaranteed amount, $1,395,000, will be paid one

 day prior to the auction in immediately available funds (e.g. confirmed receipt of a wire transfer).

        36.     From the proceeds of sale, the Auctioneer will be reimbursed for (a) the amount

 of the guaranty and (b) the Auctioneer’s actual expenses, in an amount not to exceed $50,000.

 After reimbursement of the guaranteed proceeds and payment of the expenses, the Trustee and

 Auctioneer shall share the excess, if any, with ninety (90%) percent of the proceeds being paid to

 the Trustee and ten (10%) percent of the proceeds being paid to the Auctioneer up to $1,800,000.

 Proceeds received in excess of $1,800,000 shall be paid one hundred (100%) percent to the

 Trustee.

        37.     The Auctioneer’s Verified Statement is attached hereto as Exhibit C.

        38.     A proposed Order approving the employment of CIA is attached hereto on the

 form adopted by this Honorable Court.

        WHEREFORE, the Trustee requests entry of the attached order authorizing the

 employment of Cincinnati Industrial Auctioneers, Inc. in accordance with the terms and

 conditions of the Auction Contract and this Application; and, that the Trustee have such other

 and further relief as is necessary and just.

              MOTION FOR AUTHORITY TO CONDUCT PUBLIC AUCTION

        39.     Paragraphs 1 through 38 are incorporated herein by reference.



                                                  10
Case 12-10058-TPA        Doc 1135 Filed 03/11/15 Entered 03/11/15 22:31:56                      Desc Main
                                 Document    Page 11 of 17


        40.     It is in the best interest of all parties and the Estate that the Trustee be authorized

 to sell the Assets by public auction as proposed, free and clear of liens, and that the above-recited

 liens, claims and interests of the Respondents referred to hereinabove be divested from the

 property sold and transferred to the proceeds of sale.

        41.     Some or all of the above-recited liens, claims and interests of the Respondents

 may represent valid, enforceable and unavoidable liens against, and/or security interests in, some

 of the Assets to be sold and the proceeds of sale.

        42.     Nevertheless, the Trustee requests that the proposed public sale be ordered to take

 place free and clear of the above-referenced liens, claims, encumbrances and other interests; that

 the liens, claims, encumbrances and other interests be divested from the Assets sold and then

 transferred to the proceeds of sale, but only to the extent that they are found to be valid,

 enforceable and unavoidable liens, claims, encumbrances and other interests.

        43.     The Trustee requests that the Trustee’s costs of sale and costs of bankruptcy

 administration be paid in full from the proceeds of sale before any distribution to creditors.

 Subject to Bankruptcy Court approval after notice and hearing, the Trustee’s costs of sale and of

 bankruptcy administration, including the Trustee fees, legal fees for services rendered as attorney

 pro se and the reasonable and necessary costs of maintaining and preserving the property for sale

 shall be paid in advance of any distribution to creditors.

        44.     The Trustee believes that the best way to maximize the value of the Assets is to

 sell the Assets in the form and manner contemplated by the Auction Contract and this Motion.

        45.     The best interest of creditors and the Estate will be served if the Trustee is

 authorized to sell the Assets in the form and manner contemplated by the Auction Contract and

 this Motion.



                                                   11
Case 12-10058-TPA         Doc 1135 Filed 03/11/15 Entered 03/11/15 22:31:56                   Desc Main
                                  Document    Page 12 of 17


        46.     The Trustee requests that the proceeds of sale, after the Auctioneer’s expenses

 and fees are paid in accordance with the Auction Contract, shall be paid to the Trustee and held

 in escrow pending further order of this Honorable Court, after notice and hearing on a motion to

 be filed by the Trustee for authority to distribute the proceeds of sale.

        47.     The Respondents and interested parties, including Mr. Richard Osborne and

 affiliated companies owned and/or controlled by Mr. Osborne, are required to file any and all

 objections to the auction sale prior to the hearing on the Application for permission to employ

 the Auctioneer and to proceed with the auction sale. In the event that objections are filed, the

 Trustee will request that the objections be resolved prior to the auction date. If the Respondents

 and interested parties, including Mr. Osborne, are given the opportunity to object at the time of

 the auction, they will, in effect, have the ability to disrupt the auction, chill the bidding and cause

 irreparable harm to the Estate. Objections at the time of the auction should be limited to

 objections to bidding on a specific item of property sold, and should not be used to object to the

 sale at the time of the auction on other grounds, including ownership of the Assets or liens

 against the Assets.

        48.     A proposed order authorizing the public auction sale, free and clear of liens, is

 attached hereto on the form approved by the Court. A red-lined version of the proposed order is

 also attached, showing the Trustee’s proposed changes to the form language for the reasons set

 forth in Paragraph 46.

        WHEREFORE, the Chapter 11 Trustee prays for entry of an order authorizing the

 Trustee to sell the Assets free and clear of liens, claims, encumbrances and other interests in

 accordance with the terms and conditions of the Auction Contract and this Motion; ordering that

 the liens, claims, encumbrances and other interests in, to or against the Assets be divested

 therefrom and transferred to the proceeds of sale, but only to the extent that they are valid,

                                                   12
Case 12-10058-TPA        Doc 1135 Filed 03/11/15 Entered 03/11/15 22:31:56                 Desc Main
                                 Document    Page 13 of 17


 enforceable and unavoidable liens, claims, encumbrances and other interests; ordering that the

 Trustee shall hold the net proceeds of sale in escrow pending further order of Court after notice

 and hearing; and, ordering that the Chapter 11 Trustee have such other and further relief as is

 reasonable and just, including but not limited to an order establishing the Auctioneer’s right to

 access the premises in accordance with the terms of the Auction Contract.

                                              Respectfully submitted,

                                              KNOX McLAUGHLIN GORNALL &
                                              SENNETT, P.C.


                                              By:     /s/ Guy C. Fustine
                                                      Guy C. Fustine, Esquire
                                                      Chapter 11 Trustee
                                                      PA I.D. No. 37543
                                                      120 West Tenth Street
                                                      Erie, Pennsylvania 16501-1461
                                                      (814) 459-2800
                                                      gfustine@kmgslaw.com




                                                 13
Case 12-10058-TPA       Doc 1135 Filed 03/11/15 Entered 03/11/15 22:31:56                 Desc Main
                                Document    Page 14 of 17


                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE:                                               )    Case No. 12-10058-TPA
                                                      )
 GREAT PLAINS EXPLORATION, LLC,                       )
            Debtor                                    )    Chapter 11
                                                      )
      GUY C. FUSTINE, CHAPTER 11                      )    Doc. No. ___
      TRUSTEE FOR GREAT PLAINS                        )
      EXPLORATION, LLC,                               )
              Applicant/Movant                        )
                                                      )
                vs.                                   )
                                                      )
      1ST SOURCE BANK, CATERPILLAR                    )
      FINANCIAL SERVICES CORPORATION,                 )
      CHARTER ONE BANK, N.A., HURON                   )
      LIME COMPANY, LLC, NATIONAL CITY                )
      BANK, NATIONAL CITY COMMERCIAL                  )
      CAPITAL COMPANY, LLC, RBS ASSET                 )
      FINANCE, INC., RBS CITIZENS, N.A.,              )
      WELLS FARGO EQUIPMENT FINANCE,                  )
      INC., SG EQUIPMENT FINANCE USA                  )
      CORPORATION, MENTOR EQUIPMENT                   )
      RENTAL, LLC, LAKE NATIONAL BANK,                )
      CITICAPITAL COMMERCIAL                          )
      CORPORATION, and FORD MOTOR                     )
      CREDIT CO.,                                     )
               Respondents                            )

                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the above-captioned pleading was served on
 the Respondents and counsel of record as specified on the attached service list on March 11, 2015.
 The type of service made on the parties was first-class mail and/or electronic notification.

                                              Respectfully submitted,

                                              KNOX McLAUGHLIN GORNALL &
                                              SENNETT, P.C.
                                              Attorneys for Chapter 11 Trustee

                                              By:         /s/ Guy C. Fustine
                                                          Guy C. Fustine
                                                          PA I.D. No. 37543
                                                          120 West Tenth Street
                                                          Erie, Pennsylvania 16501-1461
                                                          (814) 459-2800
                                                          gfustine@kmgslaw.com


                                                 14
Case 12-10058-TPA       Doc 1135 Filed 03/11/15 Entered 03/11/15 22:31:56          Desc Main
                                Document    Page 15 of 17


                                         SERVICE LIST

 Office of the United States Trustee           1st Source Bank
 Liberty Center                                Construction Equipment Division
 1001 Liberty Avenue                           P.O. Box 783
 Suite 970                                     South Bend, IN 46624
 Pittsburgh, PA 15222

 May Oberfell Lorber                           Laura S. Steehler, Esquire
 4100 Edison Lakes Parkway, Suite 100,         Marsh Spaeder Bauer Spaeder & Schaaf
 Mishawaka, IN 46545                           300 State Street, Suite 300
                                               Erie, PA 16507
                                               steehler@marshspaeder.com

 Caterpillar Financial Services Corporation    Kelly M. Neal, Esquire
 2120 West End Avenue                          Buchanan Ingersoll & Rooney, P.C.
 Nashville, TN 37203-0986                      One Oxford Centre, 20th Floor
                                               301 Grant Street
                                               Pittsburgh, PA 15219
                                               kelly.neal@bipc.com

 Charter One Bank, N.A.                        Andrew D. Kassner, Esquire
 c/o RBS Citizens, N.A.                        Drinker, Biddle & Reath, LLP
 1215 Superior Avenue, 6th Floor               One Logan Square, Suite 2000
 Cleveland, OH 44114                           Philadelphia, PA 19103-6996
                                               Andrew.Kassner@dbr.com

 Huron Lime Company, LLC                       Dworken & Bernstein
 P.O. Box 658                                  60 South Park Place
 Mentor, OH 44060                              Painesville, OH 44077

 National City Bank                            National City Commercial Capital
 1900 East 9th Street                          Company, LLC
 Cleveland, OH 44114                           101 South Fifth Street
                                               Louisville, KY 40202

 RBS Asset Finance, Inc.                       RBS Citizens, N.A.
 480 Jefferson Boulevard                       d/b/a Charter One Bank, N.A.
 Warwick, RI 02886                             1215 Superior Avenue, 6th Floor
                                               Cleveland, OH 44114

 Wells Fargo Equipment Finance, Inc.           Michael J. Roeschenthaler, Esquire
 733 Marquette Avenue, Suite 700,              McGuire Woods, LLP
 Minneapolis, MN 55402                         625 Liberty Avenue, 23rd Floor
                                               Pittsburgh, PA 15222
                                               mroeschenthaler@mcguirewoods.com

                                              15
Case 12-10058-TPA      Doc 1135 Filed 03/11/15 Entered 03/11/15 22:31:56        Desc Main
                               Document    Page 16 of 17


 Lake National Bank                         Todd C. Hicks, Esquire
 7402 Center Street                         Thrasher, Dinsmore & Dolan
 Mentor, OH 44060                           100 Seventh Avenue, Suite 150
                                            Chardon, OH 44024-1079

 SG Equipment Finance                       Mr. Richard M. Osborne
 USA Corporation                            c/o Great Plains Exploration, LLC
 480 Washington Boulevard, 24th Floor       7001 Center Street
 Jersey City, NJ 07310                      Mentor, OH 44060

 Mentor Equipment Rental, LLC               Ford Motor Credit Co.
 c/o Richard A. Baumgart, Esquire           P.O. Box 105704
 Dettelbach, Sicherman & Baumgart           Atlanta, Georgia 30348
 1100 Ohio Savings Plaza
 1801 East 9th Street
 Cleveland, OH 44114-3169
 rbaumgart@dsb-law.com

 CitiCapital Commercial Corporation         Richard A. Baumgart, Esquire
 3950 Regent Boulevard,                     Dettelbach, Sicherman & Baumgart
 2nd Floor Lien Perfection                  1100 Ohio Savings Plaza
 Irving, TX 75063                           1801 East 9th Street
                                            Cleveland, OH 44114-3169
                                            rbaumgart@dsb-law.com

 Peter J. Ashcroft, Esquire                 Jeffrey Baddeley, Esquire
 pashcroft@bernsteinlaw.com                 jbaddeley@ulmer.com

 Robert S. Bernstein, Esquire               Sam P. Cannata, Esquire
 rbernstein@bernsteinlaw.com                spc@cplpa.com

 Patrick W. Carothers, Esquire              Allison L. Carr, Esquire
 pcarothers@leechtishman.com                acarr@bernsteinlaw.com

 Mark G. Claypool, Esquire                  Lisa DiCerbo, Esquire
 mclaypool@kmgslaw.com                      lisa.dicerbo@irscounsel.treas.gov

 Tony L. Draper, Esquire                    Keri P. Ebeck, Esquire
 tdraper@wwmlawyers.com                     kebeck@weltman.com

 Jennifer L. ElBenni, Esquire               Andrew J. Flame, Esquire
 jelbenni@maylorber.com                     andrew.flame@dbr.com

 Harry W. Greenfield, Esquire               Gianine A. Germano, Esquire
 greenfield@buckleyking.com                 ggermano@lakecountyohio.gov



                                          16
Case 12-10058-TPA         Doc 1135 Filed 03/11/15 Entered 03/11/15 22:31:56      Desc Main
                                  Document    Page 17 of 17


 Jeffery A. Johnson, Esquire                   Jodi L. Hause, Esquire
 jjohnson@maylorber.com                        jhause@bernsteinlaw.com

 Erica L. Koehl, Esquire                        Jeffrey J. Lauderdale, Esquire
 ekoehl@bccz.com                               jlauderdale@calfee.com

 Mark A. Lindsay                               Jason R. Owen
 mlindsay@bccz.com                             jowen@yochim.com
                                               +
 Robert L. Paddock                             Nicholas R. Pagliari
 robert.paddock@tklaw.com                      npagliari@mijb.com

 Drew T. Parobek                               John A. Polinko
 dtparobek@vssp.com                            jpolinko@mcdonaldhopkins.com

 Frederick D. Rapone, Jr. , Esquire            Donn D Rosenblum, Esquire
 fdr@camlev.com                                donn.rosenblum@ohioattorneygeneral.gov

 David W. Ross, Esquire                        Peter S. Russ, Esquire
 dross@bccz.com                                peter.russ@bipc.com

 Matthew A. Salerno, Esquire                   Gary V. Skiba, Esquire
 msalerno@mcdonaldhopkins.com                  gskiba@yochim.com

 Beth L. Slaby, Esquire                        Kurt L. Sundberg, Esquire
 bslaby@clarkhill.com                          jrizzo@marshspaeder.com

 Joel M. Walker, Esquire                       Nathan A. Wheatley, Esquire
 jmwalker@duanemorris.com                      nwheatley@calfee.com

 Arthur Zamosky, Esquire                       Heather A. Sprague, Esquire
 azamosky@bernsteinlaw.com                     Heather.Sprague@usdoj.gov



 # 1568496.v1




                                             17
